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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

    EQUAL EMPLOYMENT OPPORTUNITY                CIVIL ACTION NO. 3:20-CV-00187
    COMMISSION

                  Plaintiff,

    v.

    YALE NEW HAVEN HOSPITAL, INC.,


                 Defendant.

     DEFENDANT’S [PROPOSED] PHASE I DISCOVERY REQUESTS TO THE EEOC

         Defendant Yale New Haven Hospital, Inc. (“YNHH”), by and through

counsel and pursuant to the Court’s Order dated December 16, 2020 (Doc. No.

55), hereby requests authorization to serve the following proposed Phase I

discovery requests to Plaintiff Equal Employment Opportunity Commission

(“EEOC”), including four (4) proposed requests for production of documents and

seven (7) interrogatories.1

                               REQUESTS FOR PRODUCTION


REQUEST NO. 1:


For each Affected Individual, produce all documents that relate to his/her alleged

employment status with YNHH, including but not limited to, personnel files,


1
 For ease of review, Defendant’s standard definitions and instructions are not included,
but can be provided at the Court’s request. For the purposes of these requests, the term
“Affected Individual” refers to any practitioner who has been asked to take a
neuropsychological examination pursuant to Defendant’s Late Career Practitioner Policy,
excluding any individual(s) Defendant identifies as a YNHH employee.
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employment or contracting agreements, offer letters, tax reporting forms, and

communications between any Affected Individual(s) and YNHH or any other

employer regarding their employment relationship, terms of employment, and/or

working conditions.


REQUEST NO. 2:


For each Affected Individual, produce all documents that support or relate to your

contention that his/her employment was conditioned upon the maintenance of

privileges at YNHH during the relevant time period.


REQUEST NO. 3:


For each Affected Individual, produce all documents that support or relate to your

contention that YNHH jointly employed the Affected Individual with another entity.


REQUEST NO. 4:


Produce all documents that support or relate to your contention that YNHH and

YSM are an integrated enterprise.


                              INTERROGATORIES

INTERROGATORY NO. 1:

      For each Affected Individual, describe all facts and documents that support

your contention that he/she is or was employed by YNHH. Identify all documents

that relate to this answer.




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INTERROGATORY NO. 2:

      For each Affected Individual, describe all facts and documents that support

your contention that he/she was hired by YNHH, received remuneration in some

form for his/her work at YNHH, and/or received substantial benefits from YNHH

(as alleged in Plaintiff’s Supplemental Memorandum in Support of its Proposed

Case Management Plan [Dkt. 31]). Identify all documents that relate to this

answer.


INTERROGATORY NO. 3:

      Describe all facts and documents that support your contention that YNHH

is an integrated enterprise with YSM. Identify all documents that relate to this

answer.



INTERROGATORY NO. 4:

      For each Affected Individual, identify any entity you allege jointly employs

him/her with YNHH, and describe all facts and documents that support your

contention that YNHH is a joint employer with each identified entity. Identify all

documents that relate to this answer.


INTERROGATORY NO. 5:

      For each Affected Individual, describe all facts and documents that support

your contention that his/her employment is and/or was conditioned on the

maintenance of privileges at YNHH during the relevant time period. Identify all

documents that relate to this answer.




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INTERROGATORY NO. 6:

      For each Affected Individual, provide a verified explanation of his/her

employment relationship to YNHH, including but not limited to the following:

      a.       The Affected Individual’s job title and the nature of his/her medical
               practice (sole practitioner, group practice, YSM faculty, YNHH
               Chief/Chair, etc.);

      b.       How the Affected Individual was paid during the relevant time period
               and by what entity;

      c.       What individual or entity sets the Affected Individual’s schedule and
               determines his/her hours of work;

      d.       The location(s) of the Affected Individual’s work, and the percentage
               of time the Affected Individual works at each location;

      e.       What individual and/or entity sets the number of patients the
               Affected Individual treats;

      f.       Who the Affected Individual believes are his/her supervisor(s),
               monitoring day to day work quality;

      g.       What entity provides the Affected Individual with benefits
               (specifically: paid time off; health, dental, and/or vision insurance;
               life insurance, retirement benefits or accounts, healthcare spending
               or reimbursement accounts, and short or long term disability
               insurance);

      h.       The entity the Affected Individual claims sets the day to day
               requirements and duties for the his/her medical practice;

      i.       At what hospitals and/or medical facilities the Affected Individual
               practices medicine and/or holds privileges to practice medicine;

      j.       What individual or entity the Affected Individual identified as his/her
               employer on his/her application for medical license or renewal of
               license during the relevant time period;

      k.       How the Affected Individual claims he/she is compensated for work
               he/she performs at YNHH;

      l.       What individual or entity is assigned the Affected Individual’s billing
               rights and/or bills for and collects income for services the Affected
               Individual performs at YNHH;


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      m.       Dates of the Affected Individual’s professional association with any
               hospital or other health care provider during the relevant time
               period;

      n.       Describe each Affected Individual’s responsibility, if any, for
               selecting, hiring, or making any other employment decision about
               any YNHH employee; and

      o.       What individuals and/or entities maintain personnel files for the
               Affected Individual during the relevant time period.

Identify all documents that relate to this answer.


INTERROGATORY NO. 7:

      Describe each identified Affected Individual’s duties at YNHH, and describe

all facts that support your contention that YNHH exercised control over any of

those duties. When responding, provide at least the level of detail and

information that the EEOC submitted concerning these issues as applied to Dr.

Irwin Nash in Plaintiff’s Supplemental Memorandum in Support of its Proposed

Case Management Plan [Dkt. 31]. Identify all documents that relate to this

answer.




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DATED: December 22, 2020          Respectfully submitted,

                                  YALE NEW HAVE HOSPITAL, INC.


                                  By:    /s/ Christopher J. DeGroff
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                             CERTIFICATE OF SERVICE

      I hereby certify that on December 22, 2020, I electronically filed the

foregoing DEFENDANT’S [PROPOSED] PHASE I DISCOVERY REQUESTS TO THE

EEOC with the Clerk of the District Court using its CM/ECF system, which then

electronically notified all those registered as CM/ECF participants in this case.




                                        By:          ____________________
                                              Shana Madigan
